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                        EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE, Co., et al.,

               Plaintiffs,

        v.                                     Case No. 1:13-cv-1053 (RCL)

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

               Defendants.


 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

 __________________                            Case No. 1:13-mc-1288 (RCL)

 This document relates to:
 ALL CASES


                       DECLARATION OF NICHOLAS SATRIANO

       I, Nicholas Satriano, hereby declare:

       1.     I am over 18 years of age and legally competent to make this declaration, which is

true and correct and based on my personal knowledge.

       A.     My Personal Knowledge of the Record-Keeping Procedures of Fannie Mae
              and Freddie Mac with Respect to Their SEC Filings

       2.     I have worked at the

               and its predecessor, the Office of Federal Housing Enterprise Oversight

                nearly 20 years. Since 2011, I have served as the Chief Accountant at FHFA,

which is the regulator and Conservator




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                                . From 2008 to 2011, I served as Deputy Chief Accountant within

                                        .

       3.       Since the Enterprises were placed into conservatorship in September 2008,

                                            has been responsible for, among other things, (i) issuing

accounting- and auditing-related guidance to the Enterprises,

financial disclosures                                                                    their

quarterly and annual SEC filings (referred to as Form 10-Q and Form 10-K, respectively).

Leading           review of these SEC filings is one of my primary responsibilities as Chief

Accountant.

       4.       Through my work at FHFA, I have gained detailed personal knowledge of the

              record-keeping procedures with respect to their SEC filings, including how, when,

and under what circumstances these filings are prepared, maintained, and submitted to the SEC.

       5.       Since the Enterprises were placed into conservatorship in September 2008, I have

regularly participated in meetings with each Enterprise      management to discuss the preparation

and review of the Enterprise financial reporting, including its SEC filings. In particular, I

                                                       responsible for overseeing the preparation

and submission of SEC filings, and who certifies the accuracy of the filings. I also regularly

                                        or

Controller reports to the CFO and has primary responsibility for preparing the SEC filings.

       6.       Since the Director of FHFA placed the Enterprises into conservatorship in 2008, I

have regularly received reports on the preparation of each Enterprise      SEC filings from

employees in the Office of the Chief Accountant. In particular, I or a member of the Office of

the Chief Accountant attended                       Disclosure Committee meetings about SEC




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filings. I have regularly reviewed meeting agendas, meeting minutes, and reports from such

meetings. The role of each Enterprise Disclosure Committee is discussed further below.

       7.       I am personally familiar with, and was involved in the creation of, the advisory

guidance that FHFA has provided to the Enterprises regarding their preparation of SEC filings. I

am also personally familiar with each Enterpris       own written guidelines for the preparation of

such filings.

       8.       I have been personally involved in            review of

filing since the Enterprises were placed into conservatorships in September 2008.

       B.                                                     Record-Keeping Procedures
                for the Creation, Distribution, and Submission of Their SEC Filings Based
                on My Personal Knowledge

       9.       Each Enterprise follows regular record-keeping procedures for the creation,

distribution, and submission of                   SEC filings. Creating, distributing, and

submitting SEC filings is a regular practice of each Enterprise. These procedures at each

Enterprise have remained substantially the same in all material respects since the Enterprises

were placed into conservatorships in September 2008 and are summarized below.

       10.      Each Enterprise prepares for the submission of an upcoming SEC filing by

                              filing (and other SEC filings as necessary) and identifying potential

updates that occurred in the current quarter that should be disclosed. In the case of preparing the

Form 10-K, each Enterprise also reviews the                 Form 10-K to identify potential

changes that may need to be made from that previous filing.

       11.      Each Enterprise prepares and reviews the current period financial information in

the SEC filing, such as the balance sheet, income statement, and related disclosures.

       12.      Each Enterprise assigns responsibility to various committees, groups, and

executives to review and approve specific components of the draft SEC filings. For example,


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each Enterprise has a Disclosure Committee that evaluates significant issues requiring

management discussion and assists in ensuring that the information in the SEC filing is recorded,

processed, summarized, and reported accurately. As another example, each Enterprise

of Directors has an Audit Committee that oversees and evaluates the process of reviewing the

draft SEC filings. I or a member of the Office of the Chief Accountant regularly attend each



         13.      Each Enterprise transmits drafts of its SEC filings to its respective external

auditor (Deloitte Touche for Fannie Mae, and PricewaterhouseCoopers for Freddie Mac), which

reviews and provides feedback, if any, to the Enterprise and FHFA.

         14.      Each Enterprise regularly transmits multiple interim drafts of the SEC filing to

          Office of the Chief Accountant.

         15.      I

within                Office of the Chief Accountant and other subject matter experts within FHFA.

         16.      FHFA reviews                       draft SEC filings to ensure that they do not

contain any material omissions or material misstatements. FHFA devotes significant time to

ensuring the completeness and transparency of each Enterprise                     .

         17.      Once FHFA completes its review of                     draft SEC filing, FHFA

Director issues an Acknowledgment Letter confirming that FHFA has no objection to the

Enterprise submitting the SEC filing and that the CEO and CFO may execute their respective

certifications.

         18.

                                 accordance with applicable securities laws.




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       19.     Each Enterprise maintains and stores complete copies of its final SEC filings in

the normal course of its business. Each Enterprise also makes complete copies of its SEC filings

publicly available through its website.

publicly-available EDGAR database. I have reviewed the En                SEC filings on numerous

occasions as part of my work at FHFA.

       C.      Certification as to Particular SEC Filings of Fannie Mae and Freddie Mac

       20.     The relevant Enterprise followed the process described above in creating,

distributing, and submitting each of the SEC filings listed below. Each of these SEC filings was

made at or near the time by   or from information transmitted by      a person or persons with

knowledge, and each filing was kept in the course of a regularly conducted activity of the

relevant Enterprise, and making each filing was a regular practice of that activity:

              DX         Period                         Description
                         Ending
             DX0102     9/30/2008    Fannie Mae 2008 Q3 Form 10-Q
             DX0103     9/30/2008    Freddie Mac 2008 Q3 Form 10-Q
             DX0136    12/31/2008    Fannie Mae 2008 Form 10-K
             DX0137    12/31/2008    Freddie Mac 2008 Form 10-K
             DX0158     3/31/2009    Fannie Mae 2009 Q1 Form 10-Q
             DX0159     3/31/2009    Freddie Mac 2009 Q1 Form 10-Q
             DX0175     6/30/2009    Fannie Mae 2009 Q2 Form 10-Q
             DX0176     6/30/2009    Freddie Mac 2009 Q2 Form 10-Q
             DX0188     9/30/2009    Fannie Mae 2009 Q3 Form 10-Q
             DX0189     9/30/2009    Freddie Mac 2009 Q3 Form 10-Q
             DX0212    12/31/2009    Fannie Mae 2009 Form 10-K
             DX0213    12/31/2009    Freddie Mac 2009 Form 10-K
             DX0226     3/31/2010    Fannie Mae 2010 Q1 Form 10-Q
             DX0227     3/31/2010    Freddie Mac 2010 Q1 Form 10-Q
             DX0237     6/30/2010    Fannie Mae 2010 Q2 Form 10-Q
             DX0238     6/30/2010    Freddie Mac 2010 Q2 Form 10-Q
             DX0252     9/30/2010    Fannie Mae 2010 Q3 Form 10-Q
             DX0253     9/30/2010    Freddie Mac 2010 Q3 Form 10-Q


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                DX        Period                       Description
                          Ending
               DX0275   12/31/2010   Fannie Mae 2010 Form 10-K
               DX0276   12/31/2010   Freddie Mac 2010 Form 10-K
               DX0297    3/31/2011   Fannie Mae 2011 Q1 Form 10-Q
               DX0298    3/31/2011   Freddie Mac 2011 Q1 Form 10-Q
               DX0327    6/30/2011   Fannie Mae 2011 Q2 Form 10-Q
               DX0328    6/30/2011   Freddie Mac 2011 Q2 Form 10-Q
               DX0341    9/30/2011   Fannie Mae 2011 Q3 Form 10-Q
               DX0342    9/30/2011   Freddie Mac 2011 Q3 Form 10-Q
               DX0367   12/31/2011   Fannie Mae 2011 Form 10-K
               DX0369   12/31/2011   Freddie Mac 2011 Form 10-K
               DX0420    3/31/2012   Fannie Mae 2012 Q1 Form 10-Q
               DX0421    3/31/2012   Freddie Mac 2012 Q1 Form 10-Q
               DX0476    6/30/2012   Fannie Mae 2012 Q2 Form 10-Q
               DX0477    6/30/2012   Freddie Mac 2012 Q2 Form 10-Q
               DX0576    9/30/2012   Fannie Mae 2012 Q3 Form 10-Q
               DX0577    9/30/2012   Freddie Mac 2012 Q3 Form 10-Q
               DX0597   12/31/2012   Fannie Mae 2012 Form 10-K
               DX0598   12/31/2012   Freddie Mac 2012 Form 10-K
               DX0642    3/31/2013   Freddie Mac 2013 Q1 Form 10-Q
               DX0645    3/31/2013   Fannie Mae 2013 Q1 Form 10-Q
               DX0663    6/30/2013   Fannie Mae 2013 Q2 Form 10-Q
               DX0664    6/30/2013   Freddie Mac 2013 Q2 Form 10-Q
               DX0674    9/30/2013   Fannie Mae 2013 Q3 Form 10-Q
               DX0675    9/30/2013   Freddie Mac 2013 Q3 Form 10-Q



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Executed on July 23, 2023


________________________________
Nicholas Satriano




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